Case 4:17-cv-00893-ALM Document 194 Filed 01/17/19 Page 1 of 9 PageID #: 9414



                          UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

HUAWEI TECHNOLOGIES CO., LTD., a
Chinese corporation, and FUTUREWEI
TECHNOLOGIES, INC., a Texas corporation,

            Plaintiffs,                    The Honorable Amos L. Mazzant, III

      vs.                                  Civil Action No. 4:17-cv-00893 ALM

YIREN RONNIE HUANG, an individual, and     FILED UNDER SEAL
CNEX LABS, INC., a Delaware corporation,

            Defendants.


  DEFENDANTS' REPLY IN SUPPORT OF THEIR MOTION TO RECONSIDER
 DENIAL OF DEFENDANTS’ REQUEST TO COMPEL PLAINTIFFS TO PRODUCE
DOCUMENTS RELATED TO HUAWEI_TX_0001452 AND HUAWEI_TX_0001453 AND
  CNEX RELATED COMMUNICATIONS WITH THE CHINESE GOVERNMENT




DEFENDANTS' REPLY IN SUPPORT OF ITS MOTION TO RECONSIDER
Case 4:17-cv-00893-ALM Document 194 Filed 01/17/19 Page 2 of 9 PageID #: 9415




                                                TABLE OF CONTENTS
I.     INTRODUCTION ...............................................................................................................1
II.    ARGUMENT .......................................................................................................................1
       A.        Document Discovery Into the Actions Referenced in
                 HUAWEI_TX_0001452 and HUAWEI_TX_0001453 Are Highly
                 Relevant to Both Plaintiffs’ and Defendants’ Claims and Defenses in this
                 Case. .........................................................................................................................1
       B.        Document and 30(b)(6) Deposition Discovery Into Huawei’s
                 Communications Regarding CNEX with the Chinese Government Are
                 Highly Relevant to CNEX’s Counterclaims and Affirmative Defenses. .................3
III.   CONCLUSION ....................................................................................................................5




DEFENDANTS' REPLY IN SUPPORT OF ITS MOTION TO RECONSIDER                                                                                  Page | i
Case 4:17-cv-00893-ALM Document 194 Filed 01/17/19 Page 3 of 9 PageID #: 9416



I.     INTRODUCTION

       Despite Plaintiffs Huawei Technologies Co., Ltd. and Futurewei Technologies, Inc.’s

(“Plaintiffs” or collectively “Huawei”) arguments to the contrary, the requested discovery is

highly relevant to a number of Defendants’ Counterclaims and Affirmative Defenses. Plaintiffs

have failed to substantiate any of their conclusory assertions of burden, which cannot outweigh

the likely benefit of the requested discovery. Defendants must be given a full and fair

opportunity to take the requested discovery to defend themselves against the serious allegations

Huawei has leveled against them and so that Defendants can prove their affirmative claims.

Fundamental issues of fairness merit the granting of Defendants’ Motion for Reconsideration.1

II.    ARGUMENT

       A.      Document Discovery Into the Actions Referenced in HUAWEI_TX_0001452
               and HUAWEI_TX_0001453 Are Highly Relevant to Both Plaintiffs’ and
               Defendants’ Claims and Defenses in this Case.

       Contrary to Plaintiffs’ arguments, CNEX’s motion is not based on conjecture, but is

drawn directly from the text of the documents at issue—HUAWEI_TX_0001452 and

HUAWEI_TX_0001453.




                                                               Dkt. 175, at Ex. A.




1
  Defendants seek relief both under Federal Rule of Civil Procedure 59(e) and pursuant to the
Court’s explicit instruction at the December 17, 2018 Discovery Hearing where the Court stated
Defendants could “put [their request] in writing” so that the Court can “analyze [the Defendants’
request] and look at it in a more deliberative process.” 12/17/18 Hearing Tr. at 13:20-24.


DEFENDANTS' REPLY IN SUPPORT OF ITS MOTION TO RECONSIDER                                        Page | 1
Case 4:17-cv-00893-ALM Document 194 Filed 01/17/19 Page 4 of 9 PageID #: 9417




                     This included meetings with CNEX held as a result of Huawei’s fraudulent

representation that it was interested in being a CNEX customer, through Huawei’s conspiracy

with state-controlled Xiamen University, and

        . Dkt. 175 at 4-5, Dkt. 184 at 7-13, 16-19.

       In addition to Defendants’ Counterclaims, discovery into the

                 described in HUAWEI_TX_001452 and -1453 are directly relevant to a

number of CNEX’s affirmative defenses—an issue that Plaintiffs completely ignore in their

Opposition.




                                                                                   directly relate

to affirmative defenses such as laches, waiver, unclean hands, and statute of limitations. Finally,

the subject matter described in these documents are relevant to damages, including any efforts

(or lack thereof) by Plaintiffs to mitigate any alleged harm. Discovery into

HUAWEI_TX_0001452 and HUAWEI_TX_0001453 is also necessary for Defendants to

prepare for deposing Plaintiffs’ 30(b)(6) witnesses on these documents. Plaintiffs’ suggestion

that Defendants should not be afforded full discovery into Plaintiffs’ actions concerning

                                                      would be fundamentally unfair and deprive




DEFENDANTS' REPLY IN SUPPORT OF ITS MOTION TO RECONSIDER                                       Page | 2
Case 4:17-cv-00893-ALM Document 194 Filed 01/17/19 Page 5 of 9 PageID #: 9418



Defendants of the right to a fair trial. Brown v. Miss. Valley State Univ., 311 F.3d 328, 333-34

(5th Cir. 2002) (District Court committed reversible error when it denied party a full and fair

opportunity to discover information essential to its opposition to summary judgment).

          Plaintiffs’ conclusory, unsubstantiated attorney argument for undue burden should be

rejected.2 Huawei already knows the custodian of HUAWEI_TX_001452 and -1453

          and can easily determine who

                                                                                             . From

there, Huawei can (and likely already has) conduct a reasonable investigation among its

employees who received or transmitted                 to determine what additional responsive

documents exist that describe the

                            . See, e.g., Robroy Indus.—Texas, LLC v. Thomas & Betts Corp., No.

2:15-cv-512-WCB, 2017 WL 319064, at *3-4 (E.D. Tex. Jan. 23, 2017); Hussey v. State Farm

Lloyds Ins. Co., 216 F.R.D. 591, 595-96 (E.D. Tex. 2003).

          B.     Document and 30(b)(6) Deposition Discovery Into Huawei’s Communications
                 Regarding CNEX with the Chinese Government Are Highly Relevant to
                 CNEX’s Counterclaims and Affirmative Defenses.

          While they would like to pretend that they do not exist and that they are merely

“allegations” by “American politicians” (Opp. at 5), the U.S. Government—along with

governments of other countries—have made findings that Huawei has long been engaged in a

pattern of misconduct involving illicit actions that are remarkably similar—if not identical—to

what Defendants have uncovered through the limited discovery they have been afforded in this

action. Specifically, in addition to the troubling findings by the House Permanent Select

Committee on Intelligence (“HPSCI”) regarding the threat posed by Huawei and Huawei’s


2
    Plaintiffs should not be permitted to submit any new evidence of burden in their sur-reply.


DEFENDANTS' REPLY IN SUPPORT OF ITS MOTION TO RECONSIDER                                          Page | 3
Case 4:17-cv-00893-ALM Document 194 Filed 01/17/19 Page 6 of 9 PageID #: 9419



general disregard to intellectual property (see Dkt. 175, Ex. G at 31-32), Defendants set forth the

evidence collected to date that demonstrates how the Plaintiffs have conspired with a state-

controlled entity, Xiamen University in China, to steal CNEX’s proprietary and confidential

technology found in its Westlake SDK board. See Dkt. 184 at pp. 16-19.




                                       how Mao entered into SDK License Agreement with

CNEX                                               , and how Huawei learned of CNEX’s

confidential part number for its Westlake SDK board after CNEX shared a prototype board with

state-controlled Xiamen University. Id. Additional evidence into the communications regarding

CNEX between Huawei and the Chinese government will very likely lead to additional evidence

about this conspiracy and RICO violations.3

       Once more, Huawei’s reliance on unsubstantiated claims of burden cannot outweigh the

likely benefit of the requested discovery. See Fed. R. Civ. P. 26; Robroy Indus.—Texas, LLC,

2017 WL 319064, at *3-4; Hussey, 216 F.R.D. at 595-96. Plaintiffs offer no evidence

substantiating their claim that responding to this requested discovery would entail searching

thousands or tens of thousands of custodians’ files. Opp. at 5. Indeed, Plaintiffs do not refute

Defendants’ statements from its opening Motion that Plaintiffs are already aware which of its



3
  Defendants’ pending motion to compel email production from additional of Plaintiffs’
custodians and their pending request to inspect Plaintiffs’ source code are also expected to lead
to the discovery of additional evidence that would support its RICO, civil conspiracy, and trade
secret misappropriation counterclaims. See Dkts. 147 & 151.


DEFENDANTS' REPLY IN SUPPORT OF ITS MOTION TO RECONSIDER                                        Page | 4
Case 4:17-cv-00893-ALM Document 194 Filed 01/17/19 Page 7 of 9 PageID #: 9420



employees communicate with the Chinese government or the Chinese Communist Party (“CCP”)

concerning CNEX.

       Plaintiffs’ argument under Fed. R. Evid. 404 and its reliance on United States v. Hamilton

are a red herring. Rather than attempting to introduce prior bad acts as Plaintiffs allege or

advance any jury nullification strategy, the requested discovery is targeted at Plaintiffs’

communications with the Chinese government and CCP regarding CNEX, which is relevant to

proving multiple of CNEX’s counterclaims as well as affirmative defenses such as estoppel and

unclean hands. See Dkt. 132, at pp. 76-78. In addition, as Plaintiffs themselves acknowledge in

their Opposition, the standard for permissible discovery is governed by Fed. R. Civ. P. 26, not

any rule of evidence concerning admissibility. Opp. at 2. Based on the evidence ascertained to

date regarding the conspiracy between Huawei and the state-controlled Xiamen University, and

the Congressional findings by the HPSCI, there can be little doubt that the requested document

and 30(b)(6) deposition discovery are reasonably calculated to lead to the discovery of

admissible evidence. Issues concerning admissibility should be resolved at a later date.

III.   CONCLUSION

       For the foregoing reasons, Defendants request the Court grant the relief requested in its

Motion for Reconsideration.




DEFENDANTS' REPLY IN SUPPORT OF ITS MOTION TO RECONSIDER                                        Page | 5
Case 4:17-cv-00893-ALM Document 194 Filed 01/17/19 Page 8 of 9 PageID #: 9421




DATED: January 17, 2019                Respectfully submitted

                                       /s/ Deron R. Dacus
                                       Stephanie P. Skaff (admitted pro hac vice)
                                       Jeffrey M. Fisher (admitted pro hac vice)
                                       Farella Braun + Martel LLP
                                       235 Montgomery Street, 17th Floor
                                       San Francisco, California 94104
                                       Telephone: (415) 954-4400
                                       Fax: (415) 954-4480
                                       sskaff@fbm.com
                                       jfisher@fbm.com

                                       Deron R. Dacus
                                       Email: ddacus@dacusfirm.com
                                       THE DACUS FIRM, PC
                                       821 ESE Loop 323, Suite 430
                                       Tyler, TX 75701
                                       Telephone: 903.705.1117
                                       Facsimile: 903.581.2543

                                       Attorneys for Defendants YIREN RONNIE
                                       HUANG and CNEX LABS, INC.




DEFENDANTS' REPLY IN SUPPORT OF ITS MOTION TO RECONSIDER                            Page | 6
Case 4:17-cv-00893-ALM Document 194 Filed 01/17/19 Page 9 of 9 PageID #: 9422



                  CERTIFICATE OF AUTHORIZATION TO SEAL

       Pursuant to Local Rule CV-5, the undersigned counsel hereby certifies that authorization

for filing under seal has been previously granted by the Court in the Protective Order (Dkt. 118)

entered in this case on October 2, 2018.


                                                  /s/ Jeffrey Mark Fisher
                                                  Jeffrey Mark Fisher

                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have

consented to electronic service are being served with a redacted copy of this document via the

Court’s CM/ECF system per Local Rule CV-5(a)(3) and with an unredacted copy via electronic

mail on January 17, 2019.

                                                  /s/ Deron R. Dacus
                                                  Deron R. Dacus




DEFENDANTS' REPLY IN SUPPORT OF ITS MOTION TO RECONSIDER                                     Page | 7
